           Case MDL No. 2804 Document 6747 Filed 01/13/20 Page 1 of 1



                             UNITED STATES JUDICIAL PANEL
                                          on
                              MULTIDISTRICT LITIGATION


IN RE: NATIONAL PRESCRIPTION OPIATE
LITIGATION
      City of North Las Vegas v. Walgreens Boots Alliance,             )
              Inc., et al., D. Nevada, C.A. No. 2:19-02143             )              MDL No. 2804


                ORDER VACATING CONDITIONAL TRANSFER ORDER


        A conditional transfer order was filed in this action (North Las Vegas) on December 26,
2019. Prior to expiration of that order’s 7-day stay of transmittal, plaintiff in North Las Vegas filed
a notice of opposition to the proposed transfer. The Panel has now been advised that North Las
Vegas was remanded to the Eighth Judicial District of Clark County, Nevada, by the Honorable
James C. Mahan in an order filed on January 9, 2020.

     IT IS THEREFORE ORDERED that the Panel’s conditional transfer order designated as
“CTO-128” filed on December 26, 2019, is VACATED insofar as it relates to this action.


                                                       FOR THE PANEL



                                                       John W. Nichols
                                                       Clerk of the Panel
